 

Case 1:16-mj-O4060-LF Document1 Filed 11/09/16 Page 1 of 6

AO 91 (Rev. 08/09) Criminal Complaint k ILED

 

 

 

TED STATES DI
UNITED STATES DISTRICT X JRUERQUE, NEW MEXICO
for the . Cr
District of New Mexico NOV 0 g 2016
United States of America ) MATTH EW J. DY KMAN
v. ) CLERK

Guy Rosenschein ) Case No.
) _
7 RIOLO
Heke) [Oc

Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of 11/08/2016 in the county of Bernalillo in the
District of New Mexico , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. Sec. 2252(a)(2) Distribution of child pornography
18 U.S.C. Sec. 2252(a)(4)(B) Possession of child pornography

This criminal complaint is based on these facts:

See attached affidavit

i Continued on the attached sheet.

ae

Comblethant ’s signature

Ross Zuercher, Special Agent - FBI
Printed name and title

Sworn to before me and signed in my presence.

Date: 11/09/2016

  

shieg_, U 5. Haqistuate
rinte. le and title cr
Jadge

City and state: Albuquerque, New Mexico

 
 

1,

Case 1:16-mj-O4060-LF Document1 Filed 11/09/16 Page 2 of 6

AFFIDAVIT
Your Affiant, Ross Zuercher, having been duly sworn, does hereby depose and say:
Introduction

I have been a Special Agent (SA) of the Federal Bureau of Investigation (FBI),
United States Department of Justice, since August 2012. As such, J am a “federal law
enforcement officer” within the meaning of Federal Rule of Criminal Procedure
41(a)(2)(C), that is, a government agent engaged in enforcing the criminal laws and
duly authorized by the Attorney General to request arrest warrants. I am currently
assigned to the FBI’s Albuquerque Violent Crime Program, as such, I am authorized
to investigate crimes against children. The information set forth in this affidavit was
derived from my own investigation and/or communicated to me by other sworn law
enforcement officers of the FBI, and the Bernalillo County Sheriff’s Office (BCSO).
Because this affidavit is submitted for the limited purpose of securing an arrest
warrant, your Affiant has not included each and every fact known to me concerning
this investigation. Your Affiant has set forth only those facts that your A ffiant
believes are necessary to establish that probable cause to support a criminal complaint
against Guy Rosenschein in violation of Title 18 U.S.C. §§ 2252(a)(2) and (a)(4)(B).

Relevant Statutes

This investigation concerns alleged violations of certain activities relating to material
involving the sexual exploitation of minors; Title 18 U.S.C. §§ 2252(a)(2) and

(a)(4)(B).

a. 18 U.S.C. § 2252(a)(2) and (b)(1), provide, in relevant part, that any
person who knowingly receives, or distributes, any visual depiction using
any means or facility of interstate or foreign commerce or that has been
transported in or affecting interstate or foreign commerce, or which
contains materials that have been transported in or affecting interstate or
foreign commerce, by any means including by computer or knowingly
reproduces any visual depiction for distribution using any means or
facility of interstate or foreign commerce or in or affecting interstate or
foreign commerce, if the producing of such visual depiction involves the
use of a minor engaging in sexually explicit conduct and such visual
depiction is of such conduct, or any person who attempts to do so, shall be
guilty of a federal offense. Title 18, United States Code, Sections
2252A(a)(2) and (b)(1) provide, in relevant part, that any person who
knowingly receives or distributes any child pornography or any material
that contains child pornography that has been mailed, or using any means
or facility of interstate or foreign commerce transported in or affecting
interstate or foreign commerce by any means, including by computer, or
any person who attempts to do so, shall be guilty of a federal offense.

 
 

 

Case 1:16-mj-O4060-LF Document1 Filed 11/09/16 Page 3 of 6

b.

18 U.S.C. §§ 2252(a)(4)(B) and (b)(2) provide, in relevant part, that any
person who knowingly possesses, or knowingly accesses with intent to
view any visual depiction that has been transported using any means or
facility of interstate or foreign commerce or in or affecting interstate or
foreign commerce, or which was produced using materials which have
been so transported, by any means including by computer, if the producing
of such visual depiction involves the use of a minor engaging in sexually
explicit conduct and such visual depiction is of such conduct, or any
person who attempts to do so, shall be guilty of a federal offense. Title 18,
United States Code, Section 2252A(a)(5)(B) and (b)(2) provide, in
relevant part, that any person who knowingly possesses, or knowingly
accesses with intent to view, any material that contains an image of child
pornography that has been transported using any means or facility of
interstate or foreign commerce or in or affecting interstate or foreign
commerce by any means, including by computer, or that was produced
using materials that have been transported in or affecting interstate or
foreign commerce by any means, including by computer, or any person
who attempts to do so, shall be guilty of a federal offense.

The term “child pornography” is defined at 18 U.S.C. § 2256(8). It
consists of visual depiction of sexually explicit conduct where (a) the
production of the visual depiction involved the use of a minor engaged in
sexually explicit conduct, (b) the visual depiction is a digital image,
computer image, or computer-generated image that is, or is
indistinguishable from, that of a minor engaged in sexually explicit
conduct, or (c) the visual depiction has been created, adapted, or modified
to appear that an identifiable minor is engaged in sexually explicit
conduct), as well as any visual depiction, the production of which involves
the use of a minor engaged in sexually explicit conduct. See 18 U.S.C. §§
2252 and 2256(2), (8).

The term “sexually explicit conduct” is defined at 18 U.S.C. § 2256(2) and
consists of actual or simulated (a) sexual intercourse, including genital-
genital, oral-genital, or oral-anal, whether between persons of the same or
opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or masochistic
abuse; or (e) lascivious exhibition of the genitals or pubic area of any
persons. See 18 U.S.C. § 2256(2).

The term “minor” means any person under the age of eighteen years. See
18 U.S.C. § 2256(1).

Technical Terminology

 
 

Case 1:16-mj-O4060-LF Document1 Filed 11/09/16 Page 4 of 6

. Chat room — A chat room is an area on the Internet or other computer network where
users can communicate via text, and sometimes via video and photographs.

. Internet Protocol (IP) address - An unique identifier tied to every internet account in

the world, and is how internet traffic finds its destination. IP addresses are managed
by internet service providers (ISPs), like Comcast or CenturyLink, and those ISPs
assign their customers an IP address when they activate their account. When law
enforcement identifies an IP address during the course of an investigation, they can
serve legal process on the ISP to obtain a physical address that the IP belongs to.

Details of the Investigation

. On November 8, 2016, the FBI received a report from BCSO regarding Guy
Rosenschein (ROSENSCHEIN). According to the report, ROSENSCHEIN had
knowingly possessed and distributed child pornography to include photographs of
prepubescent children.

. Chatstep.com is a United States company that runs a website located on the Internet.
The website allows visitors to look at “Public” chat rooms and join them. The public
chat rooms are required to have usernames created by the visitors. Up to 50 users can
be in a chat room at the same time. A user can enter a preexisting public chat room, or
create a new chat room. The rooms can be private or public to other users. Once in a
chat room of more than 2 users, a user can send a personal message to just one user to
have private, one-on-one conversations.

. On July 31, 2016, Chatstep.com reported a user, “Carlo,” who uploaded an image of
child pornography and sent it to another user. The IP address used in the upload was
75.173.104.251. Chatstep.com provided the photograph that was uploaded. BCSO
Detective Kyle Hartsock reviewed the image which depicts a child under 18 years of
age involved in a sex act. A grand jury subpoena was served on the Internet Service
Provider who owns the IP address. The subpoena asked the provider for the
subscriber information of the IP address at the exact date and time of the upload. The
service provider returned with the subscriber results that indicated a user
identification as rosenscheinguy, and a physical address of Rosenschein, Guy, 1529
Archuleta Drive NE, Albuquerque, New Mexico.

. On August 8, 2016, Chatstep.com reported a user, “Carlo,” who uploaded an image of
child pornography and sent it to another user. The IP address used in the upload was
75.173.102.112. Chatstep.com provided the photograph that was uploaded. BCSO
Detective Kyle Hartsock reviewed the image which depicts a child under 18 years of
age involved in a sex act. A grand jury subpoena was served on the Internet Service
Provider who owns the IP address. The subpoena asked the provider for the
subscriber information of the IP address at the exact date and time of the upload. The
service provider returned with the subscriber results that indicated a user
identification as rosenscheinguy, and a physical address of Rosenschein, Guy, 1529
Archuleta Drive NE, Albuquerque, New Mexico.

 
9.

10.

11.

12.

13.

14.

 

Case 1:16-mj-O4060-LF Document1 Filed 11/09/16 Page 5 of 6

On November 7, 2016 Detective Hartsock secured a search warrant from the District
Court of New Mexico for the residence of 1529 Archuleta Drive NE, Albuquerque,
New Mexico 87112.

On November 8, 2016, the search warrant was executed at 1529 Archuleta Drive NE,
Albuquerque, New Mexico 87112. During the execution of the search warrant,
ROSENSCHEIN was observed in a bath robe inside his residence. Upon making
contact with the officers and detectives of BCSO, ROSENSCHEIN ran back towards
his bedroom on the second floor of the residence, and armed himself with a firearm.
After a brief time, ROSENSCHEIN surrendered peacefully. When asked who else
was in the residence, ROSENSCHEIN stated his “nephew.” Upon conducting a
security sweep, a 16. year old male, John Doe, was found in the bed where
ROSENSCHEIN had fled to. John Doe was only wearing boxer shorts underwear.
John Doe was subsequently identified as not related to ROSENSCHEIN.

During the search several items of evidence were seized, including a 16 gigabyte
Transcend thumb drive. The thumb drive was previewed on scene revealing multiple
images of child pornography.

ROSENSCHEIN was later interviewed. During the interview, ROSENSCHEIN
indicated that he was employed at Presbyterian Hospital as a pediatric surgeon
specializing in urology. He indicated he has lived in Albuquerque for approximately
three years, and John Doe was a former patient of his whom ROSENSCHEIN
performed at least two operations on. ROSENSCHEIN allows John Doe to stay at his
house, often overnight, but denied any sexual relationship with John Doe.
ROSENSCHEIN owns two airplanes and a helicopter and has flown John Doe to
Florida, Nevada, and Arkansas for vacations. ROSENSCHEIN also stated he flew
another boy, who was a former patient of his, around the Albuquerque area.

ROSENSCHEIN stated he is familiar with chatstep.com and has used it often,
including just last week. He said that he has used “Carlo” as a username before. He
also stated that he traded naked images of people while using chatstep.com, but was
not sure if he ever sent photographs of children engaged in sexual acts. When
confronted about the thumb drive, ROSENSCHEIN admitted to having possessed the
images found on the thumb drive for several years, and acquired them while traveling
in Europe. He brought them back to the United States and continued possession of
them.

ROSENSCHEIN was arrested by Detective Hartsock for violations of New Mexico
Statutes Annotated (1978) 30-6A-3C and 30-6A-3B, specifically the possession and
distribution of child pornography.

Interstate Nexus

 
 

15.

16.

17.

18.

Case 1:16-mj-O4060-LF Document1 Filed 11/09/16 Page 6 of 6

According to 18 U.S.C. §§ 2252(a)(2) and (a)(4)(B), interstate or foreign commerce
must be affected. The thumb drive that was utilized to store and access the child
pornography was a Transcend 16GB USB 2.0. Though this particular model’s
country of origin has not been definitely identified, Your Affiant knows, that
Transcend only has manufacturing facilities in Taiwan and China. Your Affiant
believes that because the thumb drive was manufactured outside of the United States,
interstate commerce has been affected in the commission of this offense.

Conclusion
Based on all of the above information, your Affiant submits there is probable cause to
believe that GUY ROSENSCHEIN, violated 18 U.S.C. §§ 2252(a)(2) and (a)(4)(B).
Your Affiant requests an arrest warrant based upon the criminal complaint in this

matter.

Assistant United States Attorney Jonathan Gerson has authorized federal prosecution
in this matter.

I swear that this information is true and correct to the best of my knowledge.

=x

Ross Zuercher, Special Agent - FBI

 

SUBSCRIBED and SWORN to before

 

 

 
